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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                    CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                         ORDER1

        This matter comes before the Court on Defendant Brown Laster, Jr.’s (“Laster”)

 Motion to Declare 28 C.F.R. § 16.23(c) Inapplicable (Doc. 276) filed on July 3, 2017. The

 Government filed a Response in Opposition (Doc. 282) on July 6, 2017. The matter is

 ripe for review.

        Laster moves this Court to declare § 16.23(c) inapplicable. Laster previously filed

 a substantially similar motion seeking the same relief. (Doc. 166) (Doc. 276). This Court

 denied Laster’s prior motion requesting an identical remedy on May 25, 2017. (Doc. 191).

 In doing so, the Court found the regulation constitutional based on both Supreme Court

 and Eleventh Circuit precedent. See U.S. ex rel. Touhy v. Ragen, 340 U.S. 462

 (1951); U.S. v. Bizzard, 674 F.2d 1382 (11th Cir. 1982). In accordance with the

 applicable case law and for the reasons stated in the Court’s May 25, 2017 Order, the

 Court denies Laster’s Motion. (Doc. 191).


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       Accordingly, it is now

       ORDERED:

       1. Brown Laster, Jr.’s Motion to Declare 28 C.F.R. § 16.23(c) Inapplicable (Doc.

          276) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this July 7, 2017.




 Copies: Counsel of Record




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